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 4
                             UNITED STATES DISTRICT COURT
 5                          WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
 6
      ALMOG MEIR JAN; SHLOMI ZIV;                     NO. 3:24-cv-05553-TLF
 7    ANDREY KOZLOV,
                              Plaintiffs,             AMENDED COMPLAINT
 8    v.

 9    PEOPLE MEDIA PROJECT, a Washington
      Non-Profit Corporation, d/b/a PALESTINE
10    CHRONICLE; RAMZY BAROUD; JOHN
      HARVEY; and DOES 1 through 10,
11
                                      Defendants.
12

13                                    I.     INTRODUCTION

14          1.      On October 7, 2023, the terrorist organization Hamas brutally murdered, raped,

15   kidnapped, and butchered hundreds of Israeli civilians.

16          2.      Plaintiff Almog Meir Jan is an Israeli citizen who was kidnapped and held

17   hostage for 246 days. He was rescued from the home of Abdallah Aljamal (“Aljamal”), a

18   Hamas operative and spokesperson, in a daring mission by the Israel Defense Forces (“IDF”).

19          3.      Plaintiff Shlomi Ziv (“Ziv”) is an Israeli citizen who was a member of the

20   security team at the Nova Music Festival near Kibbutz Re’im in southern Israel on October 7,

21   2023, when he was kidnapped. He was subsequently held for 246 days. During the attack, Ziv

22   stayed to fend off gunmen and evacuate people. He was rescued from the home of Hamas

23   operative Aljamal, in the same mission by the IDF referenced above.


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 1          4.      Plaintiff Andrey Kozlov (“Kozlov”) is a Russian-Israeli citizen who was

 2   working as a security guard at the Nova Music Festival on October 7, 2023, when he was

 3   kidnapped. He was subsequently held for 246 days. He was rescued from the home of Aljamal,

 4   in the same mission by the IDF referenced above. Kozlov was subjected to particularly intense,

 5   severe, and sustained psychological and physical abuse at the hands of Hamas.

 6          5.      All three Plaintiffs were terrorized during the course of their captivity and

 7   subjected to arbitrary punishment, physical threats, and physical and psychological abuse.

 8          6.      Plaintiffs’ captor, Hamas Operative Aljamal, was not just a Hamas operative

 9   and spokesperson—he was a “journalist” for Defendant People Media Project d/b/a Palestine

10   Chronicle (“Palestine Chronicle”), a U.S.-based, tax-exempt news organization. Upon

11   information and belief, Aljamal’s wife, Fatima, who also held Plaintiffs captive in their home,

12   was also on the staff of the Palestine Chronicle.

13          7.      Under the leadership of Defendants Ramzy Baroud and John Harvey,

14   Defendant Palestine Chronicle employed Hamas Operative Aljamal and offered him its U.S.

15   platform to write and disseminate Hamas propaganda, ultimately subsidized by U.S. taxpayers

16   through its status as a tax-exempt charitable organization.

17          8.      Following the Hamas terror attacks of October 7, while Hamas Operative

18   Aljamal imprisoned Plaintiffs, Defendants permitted Hamas Operative Aljamal to use their

19   platform to whitewash Hamas’s crimes and attract international support for its terrorist cause.

20          9.      By compensating Hamas Operative Aljamal for his propaganda, all the while

21   knowing that Aljamal was a Hamas operative involved in Hamas’s October 7, 2023 attacks

22   and in the ongoing terrorist war crime of holding Israeli citizens thereafter, Defendants aided,

23   abetted, and materially supported both Hamas Operative Aljamal and Hamas itself in their acts


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 1   of terrorism, including kidnapping and holding Plaintiffs hostage for 246 days, in violation of

 2   international law.

 3            10.     Accordingly, Plaintiffs bring this Complaint for damages under the Alien Tort

 4   Statute, 28 U.S.C. § 1350, against Defendants People Media Project d/b/a Palestine Chronicle,

 5   Ramzy Baroud, John Harvey, and Does 1 through 10.

 6                                              II.      PARTIES

 7            11.     Plaintiff Almog Meir Jan is an Israeli citizen who was abducted during Hamas’s

 8   October 7, 2023, attack on Israel. He was kept as a Hamas prisoner until the IDF rescued him

 9   eight months later from the home of Hamas Operative and Palestine Chronicle employee

10   Aljamal. 1

11            12.     Plaintiff Shlomi Ziv is an Israeli citizen who was a member of the security team

12   at the Nova Music Festival when he was abducted during Hamas’s October 7, 2023, attack on

13   Israel. He was kept as a Hamas prisoner until the IDF rescued him eight months later from the

14   home of Hamas Operative and Palestine Chronicle employee Aljamal.

15            13.     Plaintiff Andrey Kozlov is a Russian-Israeli citizen who was working as a

16   security guard at the Nova Music Festival when he was abducted during Hamas’s October 7,

17   2023, attack on Israel. He was kept as a Hamas prisoner until the IDF rescued him eight months

18   later from the home of Hamas Operative and Palestine Chronicle employee Aljamal.

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22   1
      According to media reports, Hamas Operative Aljamal was killed during the rescue mission. See Abeer Ayyoub,
     The Hostages Next Door: Inside a Notable Gaza Family’s Dark Secret, WALL ST. J. (June 17, 2024),
23   https://www.wsj.com/world/middle-east/the-hostages-next-door-inside-a-notable-gaza-familys-dark-secret-
     2896f6aa.

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 1              14.     Defendant People Media Project is a 501(c)(3) nonprofit corporation

 2   incorporated in the State of Washington with its principal office address at 1503 5th Avenue

 3   SW, in Olympia, Washington 98502-5247.

 4              15.     People Media Project operates an English language and U.S.-based news outlet,

 5   under the d/b/a name, Palestine Chronicle, covering events concerning the Middle East and

 6   Palestine.

 7              16.     Defendant Ramzy Baroud is the Editor-in-Chief of the Palestine Chronicle and

 8   a Governor of People Media Project. In those positions, Defendant Baroud is ultimately

 9   responsible for editorial, content, and management decisions of the Palestine Chronicle.

10   Defendant Baroud is sued in both his individual capacity and his capacity as a Governor of

11   People Media Project.

12              17.     Defendant John Harvey is a Governor of People Media Project and its

13   “Principal Officer” in public IRS filings. He is also listed as “Management” on the Palestine

14   Chronicle’s website. 2 In those positions, Defendant Harvey is ultimately responsible for

15   management and financial decisions of the Palestine Chronicle. Defendant Harvey is sued in

16   both his individual capacity and his capacity as a Governor of People Media Project.

17              18.     As of the filing of this Complaint, Plaintiffs believe there are likely other

18   individuals or organizations (for profit, non-profit or otherwise) employed by, or collaborating

19   in conjunction with, the named Defendants who committed similar tortious violations against

20   Plaintiffs as the named Defendants. Therefore, Plaintiffs sue these individuals and/or

21   organizations under the fictitious names of Doe Defendants 1 through 10. Following

22   investigation and further discovery, Plaintiffs will seek leave of this Court to amend this

23
     2
         About the Palestine Chronicle, PALESTINE CHRONICLE, https://www.palestinechronicle.com/about/.

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 1   Complaint to allege the true names, identities, and capacities of Does 1 through 10, should this

 2   information be properly ascertained.

 3                               III.   JURISDICTION AND VENUE

 4            19.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

 5   1350. This Complaint is brought by a foreign national who was kidnapped and injured because

 6   of torts “committed in violation of the law of nations or of a treaty of the United States.” 28

 7   U.S.C. § 1350.

 8            20.     Venue in this district is proper under 28 U.S.C. § 1391 because the individual

 9   Defendants reside in this district and the corporate Defendant maintains its principal place of

10   business within this district.

11                                           IV.     FACTS

12         A. Hamas is a Designated Foreign Terrorist Organization.

13            21.     Founded in 1987, Hamas is a terrorist group committed to destroying the State

14   of Israel and eliminating Jewish people across the globe. Hamas seeks to achieve these

15   objectives through any and all means, including violence and acts of terrorism.

16            22.     The U.S. State Department designated Hamas a Foreign Terrorist Organization

17   in October 1997, which it remains to this day. 3

18            23.     For decades, Hamas has used violence, including bombings, shootings,

19   stabbings, and rocket attacks to advance its stated goals of destroying the State of Israel and

20   the Jewish people. 4

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22   3
        U.S. Dept. of State, Foreign Terrorist Organizations, STATE.GOV (last visited July 7, 2024),
     https://www.state.gov/foreign-terrorist-organizations/.
23   4
        See generally HAMAS, THE COVENANT OF THE ISLAMIC RESISTANCE MOVEMENT (Aug. 18, 1988),
     https://avalon.law.yale.edu/20th_century/hamas.asp.

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 1         B. Defendants Have Close Ties to Hamas.

 2            24.     Even though Hamas has been a designated Foreign Terrorist Organization for

 3   more than a quarter century, Defendants maintain close ties to Hamas.

 4            25.     Defendant Baroud, in addition to his roles with the Palestine Chronicle, has

 5   served both as a non-resident scholar at the University of California-Santa Barbara’s Orfalea

 6   Center for Global & International Studies and as a Senior Research Fellow at the Center for

 7   Islam and Global Affairs (“CIGA”).

 8            26.     CIGA hosted a conference in 2021 that included sponsorship from Hamas- and

 9   Muslim Brotherhood-affiliated groups. 5 CIGA is directed by Sami Al-Arian, who has

10   previously been convicted of terrorism-related crimes and deported from the United States. 6

11   Al-Arian’s spouse was present at pro-Palestine protests on Columbia University’s campus on

12   April 25, 2024. 7

13            27.     Moreover, Defendant Baroud’s daughter, Zarefah Baroud—who appears to

14   reside with Defendant Baroud—is the Digital Media Associate for American Muslims for

15   Palestine (“AMP”), a U.S.-based nonprofit that is currently the subject of multiple lawsuits, at

16   least one Congressional investigation, and one state attorney general investigation for allegedly

17   providing material support to terrorist organizations, including Hamas. 8

18
     5
       Lauren Morganbesser, Turkish Uni. to Hold Muslim-Brotherhood, Hamas Affiliated Conference, JERUSALEM
19   POST (June 19, 2021), https://www.jpost.com/middle-east/turkish-uni-to-hold-muslim-brotherhood-hamas-
     affiliated-conference-671344.
     6
       Director’s Message, CTR. FOR ISLAM & GLOBAL AFFAIRS, https://www.izu.edu.tr/en/ciga/about-us/director's-
20   message; Press Release, U.S. Dep’t of Justice, Sami Al-Arian Pleads Guilty to Provide Services to Palestinian
     Islamic Jihad (Apr. 17, 2006), https://www.justice.gov/archive/opa/pr/2006/April/06_crm_221.html.
21   7
       Joe Marino, Tina Moore, & Emily Crane, Wife of Convicted Terrorist Sami Al-Arian Was Hanging Out at
     Columbia Encampment Before Dramatic Raid, N.Y. POST (May 1, 2024), https://nypost.com/2024/05/01/us-
22   news/wife-of-convicted-terrorist-was-at-columbia-encampment-before-raid/.
     8
       See Complaint, Parizer, et al. v. Nat’l Students for Just. in Palestine, et al., 1:24-cv-724 (E.D.V.A. May 1,
     2024); Complaint, Schnaider, et al. v. Am. Muslims for Palestine, et al., 8:24-cv-01067 (M.D. Fla. May 2, 2024);
23   Letter from Rep. James Comer, Chairman, Comm. on Oversight and Accountability, House of Representatives,


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 1           28.      In December 2020, Defendant Baroud participated in a webinar hosted by AMP

 2   in which he espoused familiar Hamas propaganda, including accusing Israel of ethnically

 3   cleansing Palestinians and calling for the defeat of Zionism. 9

 4           29.      Defendant Baroud previously served as the Deputy Managing Editor of Al

 5   Jazeera online, 10 a news outlet controlled by the Qatari government with close ties to Iran’s

 6   Islamic Revolutionary Guard Corps and Hamas. Mr. Baroud has written for Kayhan

 7   International, an outlet funded by Iran’s Supreme Leader. 11 Iran has been designated by the

 8   U.S. State Department as a State Sponsor of Terrorism since 1984. 12

 9           30.      Defendant Harvey likewise has close ties to Hamas. According to news reports,

10   Defendant Harvey organized a campaign in 2007 to establish the Gaza Strip’s Rafah

11   neighborhood—a Hamas stronghold—as Olympia, Washington’s sister city. 13

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15   and Rep. Virginia Foxx, Chairwoman, Comm. on Oversight and Accountability, House of Representatives, to
     Osama Abuirshaid, Executive Director, American Muslims for Palestine, at 1 (May 29, 2024), available at
16   https://oversight.house.gov/wp-content/uploads/2024/05/Letter-to-National-SJP-5.29.24.pdf; Letter from Rep.
     James Comer, Chairman, Comm. on Oversight and Accountability, House of Representatives, and Rep. Virginia
     Foxx, Chairwoman, Comm. on Oversight and Accountability, House of Representatives, to Janet Yellen,
17   Secretary, U.S. Dep’t of Treasury, at 1 (May 14, 2024), available at https://oversight.house.gov/wp-
     content/uploads/2024/05/Letter-to-Yellen-051424.pdf; Letter from Rep. James Comer, Chairman, Comm. on
18   Oversight and Accountability, House of Representatives, to Osama Abuirshaid, Executive Director, American
     Muslims       for    Palestine   (June      24,     2024),     available    at   https://oversight.house.gov/wp-
19   content/uploads/2024/06/AMP-Follow-Up-062424.pdf; News Release, Jason Miyares, Attorney General of
     Virginia, Attorney General’s Office Opens Investigation Into American Muslims for Palestine Nonprofit (Oct.
     31, 2023), https://www.oag.state.va.us/media-center/news-releases/2630-october-31-2023-attorney-generals-
20   office-opens-investigation-into-american-muslims-for-palestine-nonprofit.
     9
       American Muslims for Palestine, 6th Education Webinar | Gaza: The Soul of Palestine, YOUTUBE (Dec. 23,
21   2020), https://www.youtube.com/watch?v=R-44Wa9eKUs&t=1052s.
     10
        About Dr. Ramzy Baroud, RAMZYBAROUD.NET, https://ramzybaroud.net/about/.
     11
         Adam Kredo, Iran’s Ties to the ‘Palestine Chronicle’, WASH. FREE BEACON (June 10, 2024),
22   https://freebeacon.com/national-security/irans-ties-to-the-palestine-chronicle/.
     12
          U.S. Dep’t of State, Country Reports on Terrorism 2020: Iran (last visited July 7, 2024),
23   https://www.state.gov/reports/country-reports-on-terrorism-2020/iran/.
     13
        Kredo, supra note 16.

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 1           31.      As the Editor-in-Chief, manager, and Governors of the Palestine Chronicle,

 2   Defendant Baroud and Defendant Harvey aligned the Palestine Chronicle’s mission and

 3   content with Hamas.

 4        C. Defendants Support Hamas by Employing Known Hamas Operatives.

 5           32.      Defendants knowingly and willfully procured and disseminated Hamas

 6   propaganda to the Palestine Chronicle’s readers in the United States.

 7           33.      According to news reports, at least six Palestine Chronicle writers and

 8   contributors have been affiliated with Iranian propaganda outlets. 14 As discussed above, Iran

 9   is a designated state sponsor of terrorism with known ties to Hamas.

10           34.      In May 2019, the Palestine Chronicle began publishing articles written by Gaza-

11   based Hamas operative and terrorist née “journalist,” Abdallah Aljamal. 15

12           35.      However, in addition to his position as a “journalist,” Hamas Operative Aljamal

13   also served as an official spokesperson for Hamas’s Ministry of Labor. 16

14           36.      Hamas Operative Aljamal’s position with Hamas was not a secret. He publicly

15   appeared in Arab media as a spokesperson for the Hamas-run Ministry of Labor. Exhibit A.

16           37.      Moreover, Defendant Baroud and Hamas Operative Aljamal knew each other

17   prior to Hamas Operative Aljamal’s relationship with the Palestine Chronicle. In January 2019,

18   Defendant Baroud and Hamas Operative Aljamal collaborated on an anti-Israel propaganda

19

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     14
        Kredo, supra note 16.
22
     15
          See Writer: Abdallah Aljamal – Gaza, PALESTINE CHRONICLE (last visited July 7, 2024),
     https://www.palestinechronicle.com/writers/abdallah-aljamal/page/4/.
     16
        Isabel Vincent, Gaza Reporter Who Harbored Israeli Hostages at His Home Wrote for US-Based The Palestine
23   Chronicle, N.Y. POST (June 17, 2024), https://nypost.com/2024/06/17/world-news/gaza-reporter-abdallah-
     aljamal-worked-for-us-non-profit/.

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 1   piece published in the Qatari-government funded Al Jazeera. 17 Defendant Baroud and Hamas

 2   Operative Aljamal are even from the same town in Gaza. 18

 3            38.      Defendants knew that Hamas Operative Aljamal was an operative and official

 4   spokesperson for Hamas.

 5            39.      Aljamal’s Facebook page, which Defendant Baroud regularly viewed, included

 6   photographs of Aljamal’s son wearing Hamas headbands, as well as a graphic that is the

 7   symbol for Hamas’ internal security bureau. 19 Both are reproduced here from the Facebook

 8   page:

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        Ramzy Baroud & Abdallah Aljamal, Tales of Torture from Israel’s Prisons, AL JAZEERA (Jan. 22, 2019),
21   https://www.aljazeera.com/opinions/2019/1/22/tales-of-torture-from-israels-prisons.
     18
        See Zarefah Baroud, Two Months in the Home Israel Has Denied Me, AL JAZEERA (Nov. 23, 2022),
22   https://www.aljazeera.com/opinions/2022/11/23/two-months-in-the-home-israel-has-denied-me (explaining that
     Defendant Baroud grew up in Nuseirat, the same town where Hamas Operative Aljamal held Plaintiffs hostage
     in his home).
23   19
            See      European     Council     on     Foreign       Relations,    Mapping        Palestinian     Politics
     https://ecfr.eu/special/mapping_palestinian_politics/internal_security_force/ (last accessed Feb. 5, 2025).

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            40.     An approximate timeline of Defendants’ relationship with Aljamal appears
15
     below for illustrative purposes:
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 1           41.      After October 7, 2023, Aljamal ceased posting to Facebook where Defendant

 2   Baroud regularly had interacted with him, because, on information and belief, electronic

 3   communications with Aljamal shifted from Facebook to other electronic means of interacting

 4   with Aljamal. Defendants and Aljamal used this migration of communication means to avoid

 5   providing Israel with any intelligence information as to Aljamal’s Hamas activities.

 6           42.      After October 7, 2023, Aljamal’s electronic communications with Defendants

 7   increased dramatically as Aljamal began regularly providing material to Palestine Chronicle

 8   for publication, including but not limited to both text of stories and digital images.

 9           43.      Nevertheless, Defendants provided Hamas Operative Aljamal with support and

10   a U.S.-based platform to publish Hamas propaganda under the guise of independent

11   journalism, compensated Hamas Operative Aljamal for his contributions, and increased the

12   volume of such platforming after October 7, 2023.

13        D. On October 7, 2023, Hamas Perpetrates the Deadliest Attack on Israel and Jews
             Since the Holocaust.
14
             44.      On October 7, 2023, Hamas led a terrorist attack in southern Israel that killed
15
     over 1,200 Israelis, took over 200 hostages, and injured over 6,900 people. 20
16
             45.      The attack began with a barrage of over 2,200 rockets directed at Israeli civilian
17
     centers. During the rocket attack, armed Hamas terrorists used motorcycles, cars, trucks, and
18
     even paragliders to storm into Israel from the Gaza strip. 21
19

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     20
          Israel Revises Hamas Attack Death Toll to ‘Around 1,200,’ REUTERS (Nov. 10, 2023),
22   https://www.reuters.com/world/middle-east/israel-revises-death-toll-oct-7-hamas-attack-around-1200-2023-11-
     10/.
     21
        Ibrahim Dahma et al., Netanyahu Says Israel Is ‘At War’ After Hamas Launches Surprise Air and Ground
23   Attack From Gaza, CNN (Oct. 7, 2023), https://www.cnn.com/2023/10/07/middleeast/sirens-israel-rocket-attack-
     gaza-intl-hnk/index.html.

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 1           46.      Hamas terrorists marched from town to town, house to house, and car to car,

 2   slaughtering, raping, and brutalizing innocent Israeli civilians at random. Entire families,

 3   including women, children, infants, and the elderly were slaughtered.

 4           47.      Hamas also targeted a local music festival, the Nova Music Festival, where

 5   thousands of young Israeli civilians were gathered to celebrate peace. The terrorists

 6   indiscriminately fired into the crowd, gunning down as many as 260 young civilians. 22 Many

 7   victims were shot in the back as they ran from their attackers.

 8           48.      Those the Israelis Hamas did not murder, they took hostage. Terrorists abducted

 9   more than 240 civilians and soldiers, imprisoning them in various locations throughout the

10   Gaza Strip. Many hostages remain in captivity today, more than 500 days since they were

11   violently ripped away from their families and homes. 23

12           49.      Hamas’s brutality did not stop there. During its attacks, Hamas terrorists raped,

13   mutilated, and brutally beat Israeli women. According to the Association of Rape Crisis

14   Centers in Israel, “rape was conducted in front of an audience, such as partners, family, or

15   friends, to increase the pain and humiliation for all present.” 24 Independent news organizations,

16   like The New York Times and BBC, have verified, through tapes and first-hand accounts, that

17   Hamas committed these heinous acts of sexual and other violence. 25 The U.N. Special

18   Representative on Sexual Violence in Conflict likewise confirmed, “there are reasonable

19   grounds to believe that conflict-related sexual violence occurred during the 7 October attacks

20
     22
        David Browne, Nancy Dillon, & Kory Grow, ‘They Wanted to Dance in Peace. And They Got Slaughtered,’
21   ROLLING STONE (Oct. 15, 2023), https://www.rollingstone.com/music/music-features/hamas-israel-nova-music-
     festival-massacre-1234854306/.
22
     23
         What Is Known About Israeli Hostages Taken by Hamas, AM. JEWISH COMM. (Feb. 26, 2024),
     https://www.ajc.org/news/what-is-known-about-israeli-hostages-taken-by-hamas.
     24
        David Gritten, Israeli Report Says Hamas Sexual Violence ‘Systematic and Intentional’, BBC (Feb. 21, 2024),
23   https://www.bbc.com/news/world-middle-east-68365284.
     25
        Id.

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 1   in multiple locations across Gaza periphery, including rape and gang rape, in at least three

 2   locations.” 26

 3           50.      Aljamal was enthralled by the actions of October 7, 2023, and posted on his

 4   Facebook page, which Defendants regularly viewed and interacted with, the following of

 5   which Defendants are aware:

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15           51.      Hamas’s October 7 attack is the third-deadliest terrorist attack since 1970. 27 In

16   terms of fatalities per capita, October 7 is far above the deadliest terrorist attack since 1970,

17   with 1.19 fatalities per capita compared to 0.46 for the second deadliest. 28 October 7 is by far

18

19

20   26
         U.N. OFFICE OF THE SPECIAL REPRESENTATIVE OF THE SECRETARY-GENERAL ON SEXUAL VIOLENCE IN
     CONFLICT, Mission Report: Official Visit of the Office of the SRSG-SVC to Israel and the Occupied West Bank,
21   29      January      –     14     February      2024     ¶    12    (Mar.     4,    2024),    available      at
     https://www.un.org/sexualviolenceinconflict/wp-content/uploads/2024/03/report/mission-report-official-visit-
22   of-the-office-of-the-srsg-svc-to-israel-and-the-occupied-west-bank-29-january-14-february-2024/20240304-
     Israel-oWB-CRSV-report.pdf.
     27
        Daniel Byman et al., Hamas’s October 7 Attack: Visualizing the Data, CTR. FOR STRATEGIC & INT’L STUDS.
23   (Dec. 19, 2023), https://www.csis.org/analysis/hamass-october-7-attack-visualizing-data.
     28
        Id.

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 1   the deadliest terrorist attack in Israeli history, with 1,200 fatalities compared to just 38 for the

 2   second deadliest. 29

 3           52.      Moreover, October 7 was “the deadliest day for the Jewish people since the

 4   Holocaust.” 30

 5        E. Plaintiffs are Kidnapped, Taken to Gaza, and Abused for Eight Months by Hamas
             Operative and Palestine Chronicle “Journalist” Abdallah Aljamal.
 6
             53.      Plaintiffs were among the Israelis kidnapped by Hamas terrorists from the Nova
 7
     Music Festival on October 7.
 8
             54.      For an excruciating 246 days, Hamas held Plaintiffs hostage in the Gaza Strip.
 9
             55.      Plaintiffs ultimately wound up as prisoners of Hamas Operative and Palestine
10
     Chronicle “journalist” Aljamal, who, along with his family, abused and mistreated Plaintiffs
11
     while holding Plaintiffs as hostages in their home in Nuseirat.
12
          F. Defendants Are at All Pertinent Times Aware that Their Compensated Employee
13           Aljamal is a Hamas Operative Participating in the October 7, 2023 Attacks and
             Subsequent International Crimes.
14
             56.      Defendants knew that before, during, and after October 7, 2023, Hamas was
15
     committing numerous international crimes, including, but not limited to, kidnapping, holding
16
     hostages for ransom, and mentally, emotionally, and physically torturing them.
17
             57.      On October 7, 2023, at 5:43 a.m. local time, Abdallah Aljamal posted on his
18
     public TikTok the following message:
19

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21
     29
22     Id.
     30
       Press Release, The White House, Remarks by President Biden on the October 7th Terrorist Attacks and the
     Resilience of the State of Israel and its People (Oct. 18, 2023), https://www.whitehouse.gov/briefing-
23   room/speeches-remarks/2023/10/18/remarks-by-president-biden-on-the-october-7th-terrorist-attacks-and-the-
     resilience-of-the-state-of-israel-and-its-people-tel-aviv-israel/.

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 6   The translation is as follows: “Praise be to God, abundant, good and blessed praise.. O God,

 7   guide us.. O God, guide us.. O God, guide us.. O God, grant us the victory that you promised..

 8   O God, acceptance, acceptance, acceptance.. Your victory, O God �”

 9           58.     During that time, and to the present day, Ramzy Baroud has maintained an
10   active presence on TikTok. On information and belief, Baroud saw Aljamal’s post asking for
11   a blessing over the terrorist attack.
12           59.     After October 7, Hamas operative Aljamal’s propaganda in the Palestine
13   Chronicle increased exponentially, often publishing two to three pieces per day, even as Hamas
14   operative Aljamal held Plaintiffs hostage in violation of international law. In order to receive
15   and publish Aljamal’s post-October 7, 2023 Hamas propaganda, Defendants were in
16   consistent, direct, and substantial contact with Aljamal, using electronic and internet means.
17           60.     Defendants knew that Aljamal’s post-October 7, 2023 propaganda could only
18   be made with direct and substantial contacts with other Hamas terrorists providing him
19   information to publish, power for his electronic devices, and Internet access for transmission
20   of materials and communications.
21           61.     Defendants’ electronic communications with Aljamal shifted from Facebook to
22   other electronic means of interacting with Aljamal.
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 1          62.     Defendants knew, as part of their employment and compensation of Aljamal

 2   before, during, and after October 7, 2023, that Aljamal was a Hamas operative and

 3   spokesperson before, during, and in the months after the October 7, 2023 attacks, and

 4   Defendants knew, through their close employment relationship and personal connections with

 5   Aljamal, that Aljamal was a terrorist participating with Hamas in Hamas’s terrorist activities,

 6   when it was common knowledge that Hamas was kidnapping, holding, hiding, and concealing

 7   Israeli hostages.

 8          63.     While compensating him as a “journalist,” Defendants knew that Aljamal was

 9   holding Israeli citizens, victims of October 7, hostage.

10          64.     While compensating him as a “journalist,” Defendants knew that Aljamal, as a

11   Hamas operative, participated in acts of terrorism as part of his duties as such, including those

12   terrorist acts commonly known to be committed by Hamas operatives during and after the

13   October 7 attacks, such as kidnapping and holding Israeli civilians hostage, taking substantial

14   actions to conceal the locations of hostages and Hamas operatives, using Palestinian civilians

15   as human shields, and that their continued and increasing cumulative compensation of Aljamal

16   would have a substantial effect in aiding these acts of terrorism and violations of criminal law.

17          65.     Defendants knew that Aljamal was a terrorist participating in kidnapping and

18   hostage-taking through their close employment relationship and their personal connections,

19   e.g., Aljamal and Defendant Baroud are from the same hometown in Gaza.

20          66.     Apart from Defendants’ personal, specific knowledge about Aljamal’s

21   participation in the October 7 terror attacks and his housing of hostages, Aljamal’s terrorist

22   activities, including his participation in the October 7, 2023 attacks, kidnapping, hostage

23


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 1   imprisonment, and other international crimes, were public common knowledge in Gaza and

 2   among the shared personal connections of Baroud and Aljamal.

 3           67.    On information and belief, Defendants used electronic and internet means,

 4   including, but not limited to, WhatsApp and Skype, to communicate with Hamas Operative

 5   Aljamal following October 7, 2023, to coordinate Defendants’ publishing of Hamas

 6   propaganda, including the publishing of justifications for Aljamal’s imprisonment of Israeli

 7   citizens.

 8           68.    On information and belief, during that time between October 7, 2023, and the

 9   rescue of Plaintiffs, Defendants were informed by Aljamal and others that Aljamal was holding

10   Israelis hostage and participating in other activities of Hamas, including concealing hostages

11   and using civilians as human shields to protect Hamas.

12           69.    For the more than eight months Hamas held Plaintiffs hostage and during the

13   time Hamas Operative Aljamal imprisoned Plaintiffs in his home, Defendants permitted

14   Hamas Operative Aljamal to use their platform—and paid him to do so—to whitewash

15   Hamas’s crimes and attract international support for its terrorist cause.

16           70.    According to Plaintiff, Shlomi Ziv, Hamas Operative Aljamal repeatedly

17   expressed his hatred for the State of Israel and the United States of America and informed the

18   Plaintiffs that Hamas was in contact and actively coordinating with its affiliates in the media

19   and on college campuses.

20           71.    Ziv further overheard several discussions in which Aljamal mentioned the name

21   of a journalist named “Nura.” Upon information and belief, “Nura” refers to “Nurah Tape”

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 1   a/k/a “Nura Tape-Sallie,” an editor at the Palestine Chronicle who posts footage glorifying

 2   armed Hamas militants on her Twitter/X page. 31

 3           72.      Tape-Sallie, who is based in South Africa, uses her platform to extensively

 4   promote entities calling for the isolation, sanctioning, and boycotting of Israel, while also

 5   calling for the blocking of Israel’s shipping routes and expelling it from international sporting,

 6   cultural, and academic organizations. 32 Post-October 7, 2023, she has also reiterated and

 7   echoed third-party opinions calling for physical resistance against Israel. 33

 8           73.      One guard informed Plaintiff Kozlov that the State of Israel wanted Plaintiffs

 9   dead as their existence was a problem for Israel.

10           74.      Throughout their captivity, Plaintiffs were aware of Aljamal’s communicating

11   via laptop and phone with terrorist entities, recording footage, and writing about the Plaintiffs.

12           75.      Upon information and belief, such recordings and writings were for the purpose

13   of publication via media, including media controlled and operated by Defendants such as the

14   Palestine Chronicle itself.

15           76.      Aljamal further informed Plaintiffs that Hamas was going to ensure that the

16   United States, as well as Jews and Israelis, are hated everywhere, and that Hamas in Gaza was

17   coordinating with its allies, including its allies in the media and on college campuses, to foment

18   hatred against Israel and Jews.

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21   31
        See X Profile of Nurah Tape-Sallie at https://x.com/nurahts.
     32
         Nurah Tape, Roadmap to Solidarity – Johannesburg Declaration Vows to Dismantle Israel’s Settler-
22   Colonialism, PALESTINE CHRONICLE (May 13, 2024), https://www.palestinechronicle.com/roadmap-to-
     solidarity-johannesburg-declaration-vows-to-dismantle-israels-settler-colonialism/(last accessed Feb. 20, 2025).
     33
        Nurah Tape, “Turning Point in History” – Hamas Official Says Resistance is Backbone of Struggle, PALESTINE
23   CHRONICLE (May 11, 2024), https://www.palestinechronicle.com/were-on-the-right-path-hamas-official-says-
     resistance-is-backbone-of-struggle/ (last accessed Feb. 20, 2025).

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 1           77.      Contemporaneous publications by the Palestine Chronicle bear out the nexus

 2   between the Palestine Chronicle, Hamas in Gaza, and antisemitic campus protests.

 3           78.      In a June 17, 2024 article, the Palestine Chronicle reported on multiple incidents

 4   at universities where students ripped up their diplomas or left graduation ceremonies to protest

 5   Israel with the Stanford Against Apartheid in Palestine (SAAP) and Students for Justice in

 6   Palestine, a successor group to entities that have been civilly litigated and criminally

 7   prosecuted out of existence for providing material support to Hamas. The Palestine Chronicle

 8   Staff (“PCS”) stated, “Stanford continues to be complicit in the ongoing genocide of the

 9   Palestinian people through their investments in corporations that fuel Israeli apartheid and war

10   crimes.” 34

11           79.      Subsequent to Plaintiffs’ rescue, in an August 29, 2024 article authored by the

12   PCS, the Palestine Chronicle provided a platform to senior Hamas official, Khaled Meshaal,

13   former Chairman of the Hamas political bureau and currently head of Hamas’ diaspora

14   office—effectively responsible for Hamas’ official presence outside of the Gaza Strip and the

15   West Bank. Meshaal is based principally in Qatar. 35

16           80.      In the article, Meshaal urged university students across the world to resume

17   their protests against Israel’s ongoing war on Gaza as the new academic year begins. He further

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     34
        Palestine Chronicle Staff, “No Grads in Gaza” – Stanford University Students Walk Out of Grad Ceremony in
21   Support of Palestine (June 17, 2024), https://www.palestinechronicle.com/no-grads-in-gaza-stanford-university-
     students-walk-out-of-grad-ceremony-in-support-of-palestine/ (last accessed Feb. 20, 2025).
22
     35
        Palestine Chronicle Staff, “Stop this Criminal Aggression” – Meshaal Urges Students to Resume Campus
     Protests (Aug. 29, 2024), https://www.palestinechronicle.com/stop-this-criminal-aggression-meshaal-urges-
     students-to-resume-campus-protests/ (last accessed Feb. 20, 2025); Justice Department Announces Terrorism
23   Charges Against Senior Leaders of Hamas, DOJ (Sept. 3, 2024), https://www.justice.gov/archives/opa/pr/justice-
     department-announces-terrorism-charges-against-senior-leaders-hamas (last accessed Feb. 20, 2025).

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 1   announced, “[t]oday, in the West Bank, within the 1948 borders, and in the diaspora, the

 2   escalation of this conflict is required … We want to go back to the martyrdom operations…”. 36

 3           81.      On September 3, 2024, less than a week after the Palestine Chronicle article

 4   was published, the U.S. Department of Justice announced criminal charges against Meshaal

 5   for allegedly orchestrating the October 7 attack on Israel, along with other senior Hamas

 6   officials. The charges, which were filed under seal in February 2024, include conspiracy to

 7   provide material support to a foreign terrorist organization and conspiracy to murder U.S.

 8   nationals. 37

 9           82.      Most disturbingly, because of the Palestine Chronicle’s tax-exempt status,

10   Hamas Operative Aljamal’s propaganda, as well as his hostage-taking, was actually subsidized

11   by U.S. taxpayers.

12       G. Plaintiffs are Rescued, and Defendants Attempt to Distance Themselves from Hamas
            Operative Aljamal.
13
             83.      On June 8, 2024, after 246 days in Hamas’s captivity, Plaintiffs were rescued
14
     from Hamas Operative Aljamal’s home in a daring commando-style mission conducted by the
15
     IDF in conjunction with several international intelligence agencies. 38
16
             84.      Hamas Operative Aljamal was killed when he and his family attempted to
17
     violently resist IDF forces to prevent Plaintiffs’ rescue.
18

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20   36
        Palestine Chronicle Staff, “Stop this Criminal Aggression” – Meshaal Urges Students to Resume Campus
     Protests (Aug. 29, 2024), https://www.palestinechronicle.com/stop-this-criminal-aggression-meshaal-urges-
21   students-to-resume-campus-protests/ (last accessed Feb. 20, 2025).
     37
        Justice Department Announces Terrorism Charges Against Senior Leaders of Hamas, DOJ (Sept. 3, 2024),
22   https://www.justice.gov/archives/opa/pr/justice-department-announces-terrorism-charges-against-senior-
     leaders-hamas (last accessed Feb. 20, 2025).
     38
        Staff, After 8 Months of Captivity, Almog Meir Jan Rescued by IDF From Central Gaza, TIMES OF ISRAEL (June
23   8, 2024), https://www.timesofisrael.com/taken-captive-almog-meir-jan-21-cared-for-his-grandfather-before-the-
     rave/.

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 1              85.      Once Hamas Operative Aljamal’s name and identity appeared in the news,

 2   Defendants attempted to minimize their connection to Plaintiffs’ captor.

 3              86.      For instance, at 6:45 a.m. on June 9, 2024, the Palestine Chronicle listed Hamas

 4   Operative Aljamal as a “correspondent for The Palestine Chronicle.” Exhibit B. Within hours,

 5   Defendants changed Hamas Operative Aljamal’s position to “contributor.” Exhibit C.

 6              87.      Defendants then released a statement referring to Hamas Operative Aljamal as

 7   a “freelance contributor” who wrote for the Palestine Chronicle “on a voluntary basis.” Exhibit

 8   D.

 9              88.      However, this statement fails to explain why, when Hamas Operative Aljamal

10   interviewed sources for his propaganda pieces, Defendants took credit for his work, stating,

11   “The Palestine Chronicle spoke to Palestinians on the ground.” 39

12              89.      Regardless of his employment status, it is indisputable that Defendants

13   provided Hamas Operative Aljamal, whose connections to Hamas were publicly known, with

14   a U.S.-based and taxpayer subsidized platform to publish Hamas propaganda and to pass the

15   material off as independent journalism.

16              90.      Moreover, the compensation Defendants paid Hamas Operative Aljamal for his

17   propaganda directly enabled him to imprison Plaintiffs in his home.

18              91.      During Plaintiffs’ captivity at the hands of the Aljamal couple, Fatima Aljamal

19   was a member of the Palestine Chronicle staff. In a May 17, 2024, article by Aljamal, his wife

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          E.g., Aljamal, supra note 36 (emphasis added).

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 1   “Fatima Aljamal” was described by her husband as Palestine Chronicle’s “initiative

 2   coordinator” in Gaza for an alleged charitable initiative in Gaza. 40

 3            92.      As a result of Defendants’ aiding, abetting, and materially supporting a known

 4   Hamas operative and propagandist, Plaintiffs suffered physical injuries, severe mental anguish,

 5   and extreme emotional pain and suffering.

 6                       V.    FIRST CLAIM FOR RELIEF:
              VIOLATION OF THE ALIEN TORT STATUTE, 28 U.S.C. § 1350 –
 7         AIDING AND ABETTING KIDNAPPING AND IMPRISONING CIVILIAN
                HOSTAGES IN VIOLATION OF THE “LAW OF NATIONS” –
 8                             Against All Defendants

 9            93.      Plaintiffs reallege and reincorporate paragraphs 1–92 as if restated fully.

10            94.      The Alien Tort Statute states, “[t]he district courts shall have original

11   jurisdiction of any civil action by an alien for a tort only, committed in violation of the law of

12   nations or a treaty of the United States.” 28 U.S.C. § 1350.

13            95.      Plaintiffs are Israeli citizens and are therefore aliens under the Alien Tort

14   Statute.

15            96.      International law universally prohibits kidnapping and imprisoning civilian

16   hostages. Article 34 of the Fourth Geneva Convention prohibits the taking of hostages. 41

17   Additionally, the Rome Statute of the International Criminal Court (“Rome Statute”), an

18   international treaty adopted in 1998 and signed by 123 countries, states that the taking of

19   hostages is a war crime. 42

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     40
        See Abdallah Aljamal, Palestine Chronicle Staff in Gaza Organize Free Haircuts for Displaced Children –
21   PHOTOS & VIDEO, PALESTINE CHRONICLE (May 17, 2024), https://www.palestinechronicle.com/palestine-
     chronicle-staff-in-gaza-organized-free-haircuts-for-displaced-children-photos-video/ (last accessed Feb. 20,
22   2025).
     41
        IV Geneva Convention Relative to the Protection of Civilian Persons in Time of War art. 34 (Aug. 12, 1949),
     available at https://www.un.org/en/genocideprevention/documents/atrocity-crimes/Doc.33_GC-IV-EN.pdf.
23   42
        Rome Statute of the International Criminal Court art. 8(2)(a)(viii) (July 17, 1998), available at https://www.icc-
     cpi.int/sites/default/files/2024-05/Rome-Statute-eng.pdf.

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 1          97.       Defendant’s activities also violated Article 2.1(b) of the International

 2   Convention for the Suppression of the Financing of Terrorism which provides:

 3                Any person commits an offence within the meaning of this Convention
                  if that person by any means, directly or indirectly, unlawfully and
 4                willfully, provides or collects funds with the intention that they should
                  be used or in the knowledge that they are to be used, in full or in part, in
 5                order to carry out:

 6                An act which constitutes an offence within the scope of and as defined
                  in one of the treaties listed in the annex; or
 7
                  Any other act intended to cause death or serious bodily injury to a
 8                civilian, or to any other person not taking an active part in the hostilities
                  in a situation of armed conflict, when the purpose of such act, by its
 9                nature or context, is to intimidate a population, or to compel a
                  government or an international organization to do or to abstain from
10                doing any act.

11          98.       Moreover, “aiding and abetting liability is a norm of customary international

12   law with sufficient definition and universality to establish liability under the” Alien Tort

13   Statute. Doe v. Cisco Sys., 73 F.4th 700, 717 (9th Cir. 2023).

14          99.       Defendants knew that Hamas Operative Aljamal was a Hamas operative and

15   spokesperson.

16          100.      Defendants, while compensating Aljamal as a “journalist” before, during, and

17   after October 7, 2023, knew that Aljamal was a Hamas operative who, before, during, and after

18   October 7, 2023, until his death, participated in acts of terrorism, including kidnapping and

19   holding Israeli citizens hostage in Gaza.

20          101.      Yet, Defendants employed Hamas Operative Aljamal as a “journalist,”

21   provided him with a U.S.-based and taxpayer subsidized platform to publish Hamas’s

22   propaganda to a vast U.S.-based audience, and compensated Hamas Operative Aljamal for his

23   propaganda.


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 1          102.    Furthermore, Defendants knowingly provided Hamas Operative Aljamal with

 2   a “legitimate” title, thereby giving him cover to commit heinous acts.

 3          103.    By providing this support to Hamas Operative Aljamal, including compensating

 4   Hamas Operative Aljamal for his propaganda, Defendants aided and abetted Hamas Operative

 5   Aljamal in cooperating in the kidnapping of Plaintiffs and imprisoning Plaintiffs as hostages

 6   in his home, in violation of international law.

 7          104.    As a result of Defendants’ aiding and abetting a known Hamas operative,

 8   Plaintiffs suffered physical injuries, severe mental anguish, and extreme emotional pain and

 9   suffering.

10                     VI.  SECOND CLAIM FOR RELIEF:
             VIOLATION OF THE ALIEN TORT STATUTE, 28 U.S.C. § 1350 –
11       AIDING AND ABETTING TERRORISM IN VIOLATION OF THE “LAW OF
                                 NATIONS” –
12                           Against All Defendants

13          105.    Plaintiffs reallege and reincorporate paragraphs 1–104 as if restated fully.

14          106.    The Alien Tort Statute states, “[t]he district courts shall have original

15   jurisdiction of any civil action by an alien for a tort only, committed in violation of the law of

16   nations or a treaty of the United States.” 28 U.S.C. § 1350.

17          107.    Plaintiffs are Israeli citizens and are therefore aliens under the Alien Tort

18   Statute.

19          108.    International law universally prohibits acts of terrorism such as those Hamas

20   perpetrated on October 7. For example, since the Nuremberg trials and the aftermath of World

21   War II, it has been universally recognized that it is unacceptable to murder, rape, torture,

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 1   imprison, deport, enslave, or exterminate a civilian population. 43 The Nuremberg trials also

 2   recognized that persecution based on political, racial or religious reasons violated international

 3   law. 44

 4             109.   Additionally, the Rome Statute prohibits certain crimes against humanity that

 5   are committed against a civilian population in a systematic way, including murder,

 6   extermination, enslavement, deportation or forcible transfer of population, torture, rape, and

 7   persecution against an identifiable group. 45

 8             110.   International law likewise universally prohibits the material support of

 9   terrorism. Article 2.1(b) of the International Convention for the Suppression of the Financing

10   of Terrorism prohibits any person from “by any means, directly or indirectly, unlawfully and

11   willfully, provid[ing] or collect[ing] funds with the intention that they should be used or in the

12   knowledge that they are to be used, in full or in part, in order to carry out” any “act intended

13   to cause death or serious bodily injury to a civilian . . . when the purpose of such act, by its

14   nature or context, is to intimidate a population, or to compel a government or an international

15   organization to do or to abstain from doing any act.” 46 Over 130 countries, including the United

16   States, have signed this Convention.

17             111.   Moreover, “aiding and abetting liability is a norm of customary international

18   law with sufficient definition and universality to establish liability under the” Alien Tort

19   Statute. Doe, 73 F.4th at 717.

20

21   43
            Nuremberg     Control     Council   Law     No.    10,   art.   II,   §     1(b)–(d),    available   at
     https://avalon.law.yale.edu/imt/imt10.asp.
22
     44
        Id. § 1(c).
     45
        Rome Statute, supra note 48, at art. 7.
     46
        International Convention for the Suppression of the Financing of Terrorism art. 2.1(b), Dec. 9, 1999, 2178
23   U.N.T.S. 197, available at https://treaties.un.org/pages/ViewDetails.aspx?src=TREATY&mtdsg_no=XVIII-
     11&chapter=18&clang=_en.

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 1          112.     Defendants knew that Hamas Operative Aljamal was a Hamas operative and

 2   spokesperson.

 3          113.     Defendants, while compensating Aljamal as a “journalist” before, during, and

 4   after October 7, 2023, knew that Aljamal was a Hamas operative who, before, during, and after

 5   October 7, 2023, until his death, participated in acts of terrorism, including kidnapping and

 6   holding Israeli citizens hostage in Gaza.

 7          114.     Yet, Defendants employed Hamas Operative Aljamal as a “journalist,”

 8   provided him with a U.S.-based and taxpayer subsidized platform to publish Hamas’s

 9   propaganda to a vast U.S.-based audience, and compensated Hamas Operative Aljamal for his

10   propaganda.

11          115.     Furthermore, Defendants knowingly provided Hamas Operative Aljamal with

12   a “legitimate” title, thereby giving him cover to commit heinous acts.

13          116.     By providing this support to Hamas Operative Aljamal, including compensating

14   Hamas Operative Aljamal for his propaganda, Defendants aided and abetted Hamas’s acts of

15   terrorism on October 7 and after, in violation of international law.

16          117.     Additionally, by providing this support to Hamas Operative Aljamal, including

17   compensating Hamas Operative Aljamal for his propaganda, Defendants materially supported

18   Hamas, a designated foreign terrorist organization, in violation of international law.

19          118.     As a result of Defendants’ aiding, abetting, and materially supporting a known

20   Hamas operative and propagandist, Plaintiffs suffered physical injuries, severe mental anguish,

21   and extreme emotional pain and suffering.

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 1                                     PRAYER FOR RELIEF

 2          Accordingly, Plaintiffs respectfully ask this Court to:

 3          A.      Find that the acts and omissions herein stated existed;

 4          B.      Declare Defendants violated the Alien Tort Statute, 28 U.S.C. § 1350 as set

 5   forth in the First & Second Claims for Relief, supra;

 6          C.      Enter judgment against Defendants and in favor of Plaintiffs for compensatory

 7   damages in amounts to be determined at trial;

 8          D.      Award Plaintiffs punitive damages in an amount sufficient to punish

 9   Defendants and to deter similar conduct in the future;

10          E.      For pre- and post-judgment interest where applicable in favor of Plaintiffs;

11          F.      For an award of all of Plaintiffs’ costs, expenses, and attorneys’ fees as

12   permitted by any agreement, statute, or grounded in equity; and

13          G.      Grant such other and further relief as justice and equity requires.

14          DATED this 21st day of February 2025.

15   Respectfully submitted,

16    TOMLINSON BOMSZTYK RUSS                         NATIONAL JEWISH ADVOCACY CENTER, INC.
                                                      THE INTERNATIONAL LEGAL FORUM
17
                                                      Mark Goldfeder (pro hac vice)
18                                                    1718 General George Patton Drive
                                                      Brentwood, TN 37027
19                                                    Phone: (800) 269-9895
      By:                                             mark@jewishadvocacycenter.org
20    Aric S. Bomsztyk, WSBA #38020                   ben@jewishadvocacycenter.org
      Blair M. Russ, WSBA #40374                      anat@jewishadvocacycenter.org
21    1000 Second Avenue, Suite 3660
      Seattle, Washington 98104
22    Telephone: (206) 621-1871
      Facsimile: (206) 621-9907
      asb@tbr-law.com
23
      bmr@tbr-law.com

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 1

 2

 3   LAW OFFICES OF DAVID SCHOEN            HOLTZMAN VOGEL BARAN
                                            TORCHINSKY & JOSEFIAK PLLC
 4   David Schoen (pro hac vice)
     2800 Zelda Road, Suite 100-6           Jason Torchinsky (pro hac vice)
     Montgomery, Alabama 36106              Erielle Davidson (pro hac vice)
 5   Phone: (334) 395-6611                  Phillip M. Gordon (pro hac vice)
     schoenlawfirm@gmail.com                John J. Cycon (pro hac vice)
 6                                          2300 N Street, NW, Suite 643A
                                            Washington, DC 20037
 7                                          jtorchinsky@holtzmanvogel.com
                                            edavidson@holtzmanvogel.com
 8                                          pgordon@hotlzmanvogel.com
                                            jcycon@holtzmanvogel.com
 9                                          Phone: (202) 737-8808

10

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                 Exhibit A
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                Exhibit C
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                Exhibit D
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                                                           Abdallah Aljamal (1987-2024)        41 Journalist
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       HOME  BLOG                   Abdallah Aljamal (1987-2024) – Well-Known Journalist Murdered in Gaza                  THE GAZA GENOCIDE

     Abdallah Aljamal (1987-2024) – Well-                                                                                                                      
     Known Journalist Murdered in Gaza                                                                                              37084                      84494
        June 9, 2024        Blog, News                                                                                              Killed               Wounded



                                                                                                                                        
                                                                                                                                    11000
                                                                                                                                    Missing




https://www.palestinechronicle.com/abdallah-aljamal-1987-2024-well-known-journalist-murdered-in-gaza/                                                                      1/13
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                                                                                                                               to tell the truth about Palestine. We
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     Palestinian journalist Abdallah Aljamal. (Photo: supplied)


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     By Palestine Chronicle Staff


         The Palestine Chronicle is saddened to learn that Abdallah Aljamal,                                                 LATEST POSTS
         one of its contributors in the Gaza Strip, has been killed in the
         latest Israeli massacre in the Nuseirat refugee camp.                                                                                ‘Fatal Strategic Decisions’ –
                                                                                                                                              Gantz, Eisenkot Resign from
                                                                                                                                              Israeli War Cabinet

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     Particularly tragic is that Aljamal’s last contribution to the Palestine Chronicle covered a
     previous massacre, which killed over 40 Palestinian civilians in an UNRWA school in the
     refugee camp.                                                                                                                            Abdallah Aljamal (1987-
                                                                                                                                              2024) – Well-Known
                                                                                                                                              Journalist Murdered in Gaza
     Israeli media is linking Aljamal’s family to the Israeli captives, claiming that Abdallah’s father,
     Dr. Ahmed, and other members of the family, were executed in the process of the bloody
     rescue mission.                                                                                                                          Israel Has Been Added To
                                                                                                                                              The UN Blacklist – What
     Those claims have been refuted by respected commentators and journalists online, who                                                     Does It Mean?
     pointed in the inconsistencies in the official Israeli narrative.

     “The building where Abdallah lived was one of 7 homes reportedly raided by the IDF on June                                               ‘Lost Moral Credibility’ – UN
     8. Hostages were held in only 2 of these buildings, not yet clear which,” Gazan writer and                                               Official Slams Bias of
     analyst Muhammad Shehada wrote on X.                                                                                                     Countries Over Gaza
                                                                                                                                              Genocide


                                                                                                                                              Israeli Soldier Commits
                                                                                                                                              Suicide after Receiving
                                                                                                                                              Orders to Return to Gaza


                                                                                                                                              Israeli Forces Detain 22
                                                                                                                                              Palestinians, Youth Dies of
                                                                                                                                              Injuries – West Bank Update


                                                                                                                                              Details Emerge – Inside the
                                                                                                                                              Three-Stage Plan for
                                                                                                                                              Ceasefire Agreement


                                                                                                                                              GAZA LIVE BLOG: Nuseirat
                                                                                                                                              Massacre Death Toll Grows
                                                                                                                                              | Israel’s War Council

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                                                                                                                             Collapsing | Blinken to Meet
                    Muhammad Shehada                                                                                         247
                    @muhammadshehad2 · Follow

            Debunking the false claim that Abdallah Aljamal kept                                                                              What are Hamas’ Options
         an Israeli hostage in his home:                                                                                                      after Gaza Massacre,
                                                                                                                                              Freeing of Four Captives? –
                                                                                                                                              Analysis
         1- Abdallah lived in an apartment in a multi-storey
         building. No connection was ever provided by the IDF
                                                                                                                                              The Battle of Nuseirat –
         between him & the hostage.                                                                                                           Resistance Roundup – Day
                                                                                                                                              246
         2- The building where Abdallah lived was one of 7
         homes… Show more

                                                                                                                                                               




         12:12 PM · Jun 9, 2024

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     The tragic news of Aljamal’s family execution was conveyed through EuroMed Monitor, a
     Geneva-based rights organization.

     “In a preliminary investigation into the field executions by the Israeli army at the Nusseirat
     refugee camp yesterday, @EuroMedHR stated that soldiers used a ladder to break through
     the residence of Dr. Ahmed Al-Jamal,” the statement said.

     “Upon encountering 36-year-old Fatima Al-Jamal on the staircase, they immediately shot her
     dead. The troops then stormed the house and executed her husband, 36-year-old journalist
     Abdullah Al-Jamal, and his father, 74-year-old Dr. Ahmed Al-Jamal, in front of his
     grandchildren. Additionally, their 27-year-old daughter, Zainab, was shot and seriously
     injured,” it added.




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                   Ramy Abdu| ‫رامي عبده‬
                   @RamAbdu · Follow

         This article from Yedioth Ahronoth @YediotAhronot
         exemplifies the Israeli media saturated with lies.

         -The article used my tweet, which talks about executions
         in the al-Jamal house, and distorted it to claim that the
         hostage Argamani was there, despite me never
         mentioning such a… Show more




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     The Israeli mission, which according to Axios and other news outlets, involved direct and
     indirect US and British support, resulted in the killing of 274 Palestinians and the wounding of
     hundreds more.

     “Abdallah Aljamal’s reports have focused entirely on the humanitarian situation in Gaza,
     especially in the central part of the Strip, starting shortly after the war,” The Palestine
     Chronicle said in a statement.

     “His contributions became frequent when Israel deliberately began killing journalists, making
     it nearly impossible for the Palestinian voice to break away from the Gaza siege,” it added.




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                   Source:




                      ynet.co.il
                        ‫ וטענו ששכרו דירה בבניין שבו הוחזקה‬- ‫"החיילים התחפשו לעקורים‬
                                                                         "‫נועה ארגמני‬


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         The IDF now claims it was NOT Noa Argamani in the
         building where Abdallah lived but the 3 male hostages.

         This raises the likelihood that he didn’t know, b/c he lived
         on the 1st floor & the hostages were kept on the 3rd in an
         apartment building.

         Calling him a “Hamas operative”… Show more

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     Aljamal’s relationship with the Palestine Chronicle was that of a freelance contributor. He was
     neither a staff writer nor a contractor. Aljamal has contributed his services to the Palestine
     Chronicle on a voluntary basis.

     However, the value of his work was very important as one of the few journalists who kept the
     focus entirely on displaced Palestinian refugees, families of victims of the Israeli genocide, and
     other stories that were not being told by other journalists or media outlets.

     Abdallah’s daily reports were originally written and published in Arabic. The Palestine
     Chronicle translated and republished a selected number of these reports throughout the war.

     The Palestine Chronicle conveys its condolences to the people of Nuseirat and all the families
     of journalists murdered in Gaza throughout this genocidal war.

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     For more information about Abdallah Aljama’s translated and republished articles, click here.


     (The Palestine Chronicle)


                                                                                                                          




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                 ABDALLAH ALJAMAL                   GAZA             ISRAEL             PALESTINE

        PALESTINIAN JOURNALISTS




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